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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

 KELVIN W. HARRIS, on behalf of himself
 and all others similarly situated,
                                                        CASE NO. 2:14-cv-1231
         Plaintiff,

         v.                                             JUDGE ALGENON L. MARBLEY

 EXEL, INC.                                             Magistrate Judge Terence P. Kemp

        Defendant.


       PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                 SUMMARY JUDGMENT FOR LACK OF STANDING


  I.    INTRODUCTION

        Exel moves for summary judgment on the narrow claim that Plaintiff, Kelvin Harris, lacks

standing. As has become increasingly frequent among class action defendants, Exel bases this

motion on a complete misreading of the Supreme Court’s decision in Spokeo v. Robins, 136 S. Ct.

1540, 194 L. Ed. 2d. 635 (2016). Despite Exel’s intimations otherwise, the reality is that Spokeo

broke no new ground. See e.g., LaVigne v. First Comm. Bancshares, Inc., No. 1:15-cv-00934,

2016 WL 4196812, at *3 (D.N.M. Oct. 19, 2016) (“In defining the ‘concrete’ part of an injury-in-

fact, Spokeo did not break any new legal ground for case-and-controversy requirements.”) The

Court’s consensus opinion simply reiterated that, to have standing, a plaintiff must show an injury

that was both particularized and concrete. In doing so, the Court reaffirmed well-established

Article III standing principles—that “intangible injuries can nevertheless be concrete,” and that

“[i]n determining whether an intangible harm constitutes injury in fact, both history and the

judgment of Congress play important roles.” Spokeo, 136 S. Ct. at 1549 (emphasis added).

        Applying those principles here make clear that the named Plaintiff has Article III standing.

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By obtaining Mr. Harris’s consumer report without first providing him proper disclosure and

receiving his authorization as required by § 1681b(b)(2)(A), Exel not only caused Harris

informational injury but also invaded his privacy—the very harms that specifically motivated

Congress’s enactment of the FCRA and that have long been recognized by the common law. It is

irrelevant whether he understood that Exel would procure a consumer report or how it would be

used because he was the object of a violation of the FCRA’s disclosure requirements. Put simply,

Harris “suffered injury in precisely the form the statute was intended to guard against, and therefore

has standing.” Havens Realty Corp. v. Coleman, 455 U.S. 363, 364 (1982). Further, by failing to

provide Harris with the information required by § 1681b(b)(3)(A) before using his background

report to deny him employment, Exel caused Harris to also suffer not only a privacy injury but

also the very type of informational injury that the Supreme Court recognized in Spokeo. See 136

S. Ct. at 1549-50. Thus, this Court should deny Exel’s motion and allow this litigation to continue

accordingly.

    II.   BACKGROUND

          A. Historical Framework: The Fair Credit Reporting Act

          Congress enacted the Fair Credit Reporting Act in 1970 to protect the “consumer’s right to

privacy” by ensuring “the confidentiality, accuracy, relevancy, and proper utilization” of consumer

credit information. 15 U.S.C. § 1681(b). And, recognizing the “vital role” that consumer reports 1

play in the modern economy, Congress sought to encourage those handling the sensitive

information in those reports to “exercise their grave responsibilities” in a way that “ensure[s] fair

and accurate credit reporting.” 15 U.S.C. § 1681(a); Robinson v. Equifax Info. Servs., LLC, 560


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  Under the FCRA, “consumer reports” include “any written, oral, or other communication of any information by a
consumer reporting agency…which is used or expected to be used or collected in whole or in part for the purpose of
serving as a factor in establishing the consumer’s eligibility for--…(B) employment purposes[.]” 15 U.S.C. §
1681a(d)(B).

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F.3d 235, 239 (4th Cir. 2009). The FCRA fosters these purposes through a set of interlocking

requirements—including strict restrictions on the use of reports for various purposes and detailed

requirements about how consumers must be informed of their rights.

       A prime motivation for the FCRA was the impact of third-party data collection on the

employment market and particularly on individual job seekers. When it passed the FCRA,

Congress voiced a strong “concern[]” that “permit[ting] employers to obtain consumer reports

pertaining to current and prospective employees…may create an improper invasion of privacy.”

S. Rep. No. 104-185, at 35 (1995). As one legislator explained, the FCRA’s protections

represented “new safeguards to protect the privacy of employees and job applicants”; the Act as a

whole, he continued, was “an important step to restore employee privacy rights.” 140 Cong. Rec.

H9797-05 (1994) (Statement of Congressman Vento); see also 138 Cong. Rec. H9370-03 (1992)

(Statement of Congressman Wylie) (stating that the FCRA “would limit the use of credit reports

for employment purposes, while providing current and prospective employees additional rights

and privacy protections”).

       In addition to the risk of privacy-related harm, Congress also “found that in too many

instances agencies were reporting inaccurate information that was adversely affecting the ability

of individuals to obtain employment”—often without consumers’ knowledge. Dalton v. Capital

Associated Indus., Inc., 257 F.3d 409, 414 (4th Cir. 2001); see also S. Rep. No. 91-157, at 3-4

(1969) (describing the “inability” of consumers to discover errors). And even if consumers learned

of an error, they usually had “difficulty in correcting inaccurate information” because of skewed

market incentives: “a credit reporting agency earns its income from creditors or its other business

customers,” and “time spent with consumers going over individual reports reduces…profits.” 115

Cong. Rec. 2412 (1969).



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        As a result, under the FCRA, an employer must disclose to a job seeker that “a consumer

report may be obtained for employment purposes” and must obtain authorization from a consumer

before procuring his or her consumer report. See 15 U.S.C. § 1681b(b)(2)(A). And, to ensure that

prospective employees are adequately informed about their rights concerning these consumer

reports, the FCRA requires that this information be provided “in a document that consists solely

of the disclosure.” Id. Absent the job seeker’s informed consent or strict compliance with the

statute’s disclosure requirements, it is flatly illegal for a company to obtain a job applicant’s

consumer report for employment purposes—a point Congress hammered home by criminalizing

the acquisition of a consumer report under false pretenses. See 15 U.S.C. § 1681q.

        The FCRA also includes special requirements for when an employer plans on taking

adverse action based in whole or in part on a consumer report. See 15 U.S.C. § 1681b(b)(3).

“Specifically, before taking adverse action regarding the consumer’s current or prospective

employment, an employer must provide to the consumer a copy of the report and a written

description of the consumer’s rights under the FCRA. The employer must also provide the

consumer with a reasonable period to respond to any information in the report that the consumer

disputes and with written notice of the opportunity and time period to respond.” H.R. Rep. No.

103-486 (1994). As the FTC has explained, this requirement is designed not only to promote

accuracy, but also to educate consumers: “Congress required employers to include [a] summary of

rights in the pre-adverse action disclosure along with a copy of the consumer report so that

consumers would be fully informed of their rights.” FTC Advisory Opinion to Attorney Hawkey,

(Dec. 18, 1997), available at http://1.usa.gov/1NS1Cbv.2



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 Courts may rely on FTC authoritative guidance in interpreting the FCRA. Ramos v. Genesis Healthcare, LLC, 141
F. Supp. 3d 341, 347 n. 4 (E.D. Pa. 2015) (citing Goode v. LexisNexis Risk & Info. Analytics Grp., Inc., 848 F. Supp.
2d 532, 543 (E.D. Pa. 2012)).

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         B. Relevant Factual Background

         Harris’s FCRA claims arise from his application for employment to Exel in the summer of

2013. (Doc. 1). In its motion, Exel does not challenge the operative elements of Harris’s claims.

After a successful application and interview process, Exel offered Harris a contingent offer of

employment. (Id. at ¶ 9). On August 2, 2013, Exel procured Harris’s consumer report from Sterling

Testing Systems (“Sterling”). (Doc. 32, at p. 6). Prior to this procurement, Exel did not provide

Harris with a standalone disclosure that it would obtain his consumer report for employment

purposes, and thus did not acquire proper authorization from Harris as required under §

1681b(b)(2)(A). (Doc. 1).

         Exel asserts, instead, that its application materials provided Harris with the requisite §

1681b(b)(2)(A) disclosures. Specifically, Exel’s application states:

         I authorize investigation of all statements contained in this application, of personal
         history, and of my financial and credit record as may be necessary in arriving at an
         employment decision. I authorize you to make an investigative consumer report
         whereby information is obtained through personal interviews with my neighbors,
         friends, or others with whom I am acquainted. This inquiry may include
         information as to my character, general reputation, personal characteristics, and
         mode of living. I understand I have the right to make a written request within a
         reasonable period of time to receive additional, detailed information about the
         nature and scope of any investigative report made.

(Doc. 32, at p. 5) (emphasis added).3 An “investigative consumer report” is not a “consumer

report” under the FCRA; the two types of reports are wholly separate and distinct. See 15 U.S.C.

§ 1681a(e). An investigative consumer report “shall not include specific factual

information…from a consumer reporting agency.” Id. (emphasis added). Conversely, a




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 As Exel notes, there remains a factual dispute whether Harris was provided with a separate disclosure regarding the
procurement of his consumer report. (Doc. 32, at p. 6 n. 5). But for purposes of Exel’s motion, it is not at issue.
Moreover, this purported disclosure provided to Exel by Sterling is similarly violative of § 1681b(b)(2)(A). See e.g.,
Jones v. Halstead Mgmt. Co., LLC, 81 F. Supp. 3d 324, 333 (S.D.N.Y. 2015) (holding that Sterling disclosure form
does not satisfy § 1681b(b)(2)(A)’s “standalone” or “solely” requirement).

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“consumer report” means “any written, oral, or other communication of any information by a

consumer reporting agency…” 15 U.S.C. § 1681a(d)(1) (emphasis added). Thus, Exel’s

application materials do not in any way comply with § 1681b(b)(2)(A).

       After Exel obtained Harris’s consumer report in violation of § 1681b(b)(2)(A), it took

adverse employment action against him based on the report. (Doc. 1). But before denying Harris

employment based on his consumer report, Exel did not provide him with a copy of the report or

a summary of his FCRA rights. Instead, several days later, an Exel manager contacted Harris by

phone and informed him that Exel had denied him employment based on derogatory information

contained in his background check with vague references to a license suspension and warrants.

(Harris Dep., at 163:18-22) (attached as Exhibit A). While the Exel manager provided Harris with

a phone number for Sterling, he did not provide him with a copy of the derogatory consumer report

or a summary of his FCRA rights in violation of § 1681b(b)(3)(A).

       In light of these FCRA violations, Exel does not challenge Harris’s claims on the merits.

Rather, Exel seeks to avoid liability by claiming that Harris lacks standing, principally under the

theory that Harris knew that it was common for employers to run background checks on applicants.

As an initial matter, not all background checks are “consumer reports” requiring a standalone

disclosure under § 1681b(b)(2)(A). But more importantly, Exel is not absolved of its responsibility

to comply with the FCRA merely because an applicant may have been the subject of a consumer

report in past occupations. The logical consequences of such a wide-ranging rule would effectively

end employer liability under the FCRA.

       Moreover, Exel overstates Harris’s purported knowledge of the FCRA’s requirements.

While Harris may have known that previous employers had run “background checks” on him and

may have expected that Exel might do the same, he did not know that Exel would obtain his



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“consumer report” from Sterling. Further, while Harris testified that he had seen documents

containing the Summary of FCRA rights in the past, he was not familiar their contents. (Harris

Dep., at 28:9) (“I’m familiar with seeing it.”) (Ex. A) Indeed, he did not recognize the summary of

rights when presented with it. (Id. at 203:3-204:7) (Ex. A). More importantly, this purported

knowledge is immaterial to his FCRA claims.

       Likewise, Exel’s focus on Harris’s confusion regarding his criminal record history—and

the accuracy of that information—is immaterial. As made clear from his deposition testimony,

Harris is genuinely confused as to whether the 20-year old Wisconsin criminal information is

related to solely to him or whether they include information belonging to an individual who

assumed his identity. If Harris believed those criminal records to be accurate, why would he

voluntarily risk arrest by filing a police report and litigating this action? And Harris has been

employed at numerous positions without this purported criminal information appearing on any

background report.

       But even if correct, an applicant’s criminal record information does not excuse an

employer’s obligations under the FCRA. It is important to note that Exel essentially concedes that

it did not comply with the FCRA’s disclosure and pre-adverse action requirements when obtaining

Harris’s consumer report and using it to deny him employment. Instead it seeks summary judgment

on the claim that Harris did not suffer “concrete” harm. In doing so, Exel conflates tangible harm

with Article III’s injury-in-fact requirement. Article III does not require tangible harm—and

Spokeo did not alter that precedent. See Perrill v. Equifax Info. Services, LLC, No. , 2016 WL

4572212, at *4 (W.D. Tex. Aug. 21, 2016) (recognizing that Spokeo does not require a plaintiff to

allege actual damages to satisfy Article III standing); see also Thomas v. FTS USA, LLC, No. 3:13-

cv-825, 2016 WL 3653878, at *11 (E.D. Va. June 30, 2016).



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        C. ARGUMENT

        A.      Spokeo did not change the requirements for Article III standing.

        To have standing to bring a claim in federal court, the plaintiff must have (1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision. Spokeo, 136 S. Ct. at 1547. “To establish

injury in fact, a plaintiff must show that he or she suffered an ‘invasion of a legally protected

interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not conjectural or

hypothetical.’” Id. at 1548 (citations omitted; emphasis added).

        Exel only challenges Harris’s standing on grounds that he has not suffered “concrete”

injury from Exel’s FCRA violations. Despite Exel’s mischaracterization of the decision, however,

Spokeo did not change the legal framework for analyzing standing nor overrule any of the relevant

precedent. Instead, the Court in Spokeo simply reiterated that the Article III standing inquiry asks

not only whether an injury is particularized, but also whether it is concrete —“that is, it must

actually exist.” Id. at 1548.

        Elaborating on the meaning of concreteness, the Court in Spokeo distilled several “general

principles” from its prior decisions, without going beyond those cases. Id. at 1550. First, it

acknowledged that, although tangible injuries (like physical or economic harm) are “perhaps easier

to recognize” as concrete injuries, “intangible injuries can nevertheless be concrete,” as can

injuries based on a “risk of harm.” Id. at 1549-50. Second, “[i]n determining whether an intangible

harm constitutes injury in fact, both history and the judgment of Congress play important roles.”

Id. So if the “alleged intangible harm has a close relationship to a harm that has traditionally been

regarded as providing a basis for a lawsuit in English or American courts”—or, more plainly, if

“the common law permitted suit” in analogous circumstances—the plaintiff will have suffered a



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concrete injury that can be redressed by a federal court. Id.; see also Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 102 (1998) (explaining that Article III encompasses “cases and

controversies of the sort traditionally amenable to, and resolved by, the judicial process”).

       A plaintiff need not dig up a common-law analogue to establish a concrete injury, because

Congress has the power (and is in fact “well positioned”) “to identify intangible harms that meet

minimum Article III requirements,” even if those harms “were previously inadequate in law.”

Spokeo, 136 S. Ct. at 1549 (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 578 (1992)).

Accordingly, the third principle emphasized in Spokeo is that Congress can elevate even

procedural rights to a concrete injury if they protect against an identified harm. Of course, “a bare

procedural violation, divorced from any concrete harm” identified by Congress, will not give rise

to an Article III injury. Id. at 1549. But a “person who has been accorded a procedural right to

protect his concrete interests” has standing to assert that right, and may do so “without meeting all

the normal standards for redressability and immediacy.” Lujan, 504 U.S. at 572, n. 7.

       Critically, none of these principles are new. Thomas, 2016 WL 3653878, at *4 (“Contrary

to Defendants’ position, Spokeo did not change the basic requirements of standing.”); and

LaVigne, 2016 WL 4196812, at *3 (citing Krakauer v. Dish Network LLC, 168 F. Supp. 3d 843,

844 (M.D.N.C. 2016) (recognizing that Spokeo “did not fundamentally change the doctrine of

standing or jurisdiction.”) And the Court in Spokeo did not even apply these principles to the facts

before it, choosing instead to remand the case to the Ninth Circuit, whose previous analysis was

“incomplete” because it had “overlooked” concreteness. 136 S. Ct. at 1545. The Court, in other

words, offered no assessment of the Ninth Circuit’s analysis below, aside from its determination

that the Ninth Circuit had failed to analyze concreteness as a separate step in the injury-in-fact

inquiry.



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       Yet Exel acts as if Spokeo broke new ground with repeated references to “bare procedural

violations.” That a “bare procedural violation, divorced from any concrete harm” is not enough to

confer standing has long been the rule for Article III standing. Spokeo, 136 S. Ct. at 1549 (quoting

Summers v. Earth Island Institute, 555 U.S. 488, 496 (2009)). And, although it is true that, after

Spokeo, “Article III standing requires a concrete injury even in the context of a statutory violation,”

that was just as true before Spokeo. See, e.g., Summers, 555 U.S. at 497 (“[T]he requirement of

injury in fact is a hard floor of Article III jurisdiction that cannot be removed by statute.”).

       Thus, despite Exel’s efforts to exaggerate the decision’s importance, Spokeo has done very

little to change (or even clarify) the law. It instead summarizes the doctrine and provides examples

of injuries that might (or might not) constitute sufficiently concrete harm. Simply put, if Exel was

confident that Harris lacks standing under Article III, then it could have sought dismissal out of

the gate, as the case law then is no different now.

       B.      The Ninth Circuit’s decision in Syed v. M-I, LLC, and the weight of post-Spokeo
               case law, confirms Harris’s standing.

       One week after Exel filed its motion, the Ninth Circuit Court of Appeals became the first

appellate court to examine claims under 15 U.S.C. § 1681b(b)(2)(A) after Spokeo. Syed v. M-I,

LLC, No. 14-17186, 2017 WL 242559 (9th Cir. Jan. 20, 2017). There, the court held that the district

court erred in dismissing claims alleged that defendant had violated § 1681b(b)(2)(A) by including

extraneous information in its disclosure. Id. at *1. Like here, the defendant in Syed claimed that

plaintiff alleged only a bare procedural violation because the disclosure provided the statutorily-

required notice regardless of the violative extraneous information. The Ninth Circuit held

otherwise:

       Syed alleges more than a “bare procedural violation.” The disclosure requirement
       at issue, 15 U.S.C. § 1681b(b)(2)(A)(i), creates a right to information by requiring
       prospective employers to inform job applicants that they intend to procure their


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        consumer reports as part of the employment application process. The authorization
        requirement, § 1681b(b)(2)(A)(ii), creates a right to privacy by enabling applicants
        to withhold permission to obtain the report from the prospective employer, and a
        concrete injury when applicants are deprived of their ability to meaningfully
        authorize the credit check. By providing a private cause of action for violations of
        Section 1681b(b)(2)(A), Congress has recognized the harm such violations cause,
        thereby articulating a “chain[ ] of causation that will give rise to a case or
        controversy.”

Id. at *4 (citing Spokeo, 136 S. Ct. at 1549). The Court further held, as a matter of law, that “in

light of the clear statutory language that the disclosure document must consist ‘solely’ of the

disclosure, a prospective employer’s violation of the FCRA is ‘willful’ when the employer

includes terms in additional to the disclosure[.]” Id. at *1.

        The Eleventh Circuit’s decision in Church v. Accretive Health, Inc. is similarly instructive.

654 F. App’x 990 (11th Cir. 2016). That case involved alleged violations of the Fair Debt

Collection Practices Act where defendant omitted certain statutorily-mandated disclosures in a

debt collection letter it sent to the plaintiff. Id. at 991. The plaintiff did not allege actual damages

from the faulty letter, and the district court granted summary judgment to defendant concluding

that the Act did not apply to the letter. Id. at 991-92. On appeal, the defendant raised the issue of

standing shortly after Spokeo was handed down. Id. After carefully reviewing Spokeo, the Court

decided that “[a]n injury-in-fact, as required by Article III, ‘may exist solely by virtue of statutes

creating legal rights, the invasion of which creates standing….” Id. at 993 (citing Havens Realty,

455 U.S. at 373). In concluding that Church had standing to sue, the court held that the deprivation

of the statutorily-required information was an injury “that Congress has elevated to the status of a

legally cognizable injury through the FDCPA.” Id. at 995.

        Notably, the Church opinion relied heavily on Havens Realty. There, the Supreme Court

addressed, inter alia, whether a tester-plaintiff had sufficiently alleged injury-in-fact to assert a

violation of the Fair Housing Act (FHA). 455 U.S. at 372-73. The tester-plaintiff alleged the


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defendant falsely told her that it had no apartments available to rent, while the defendant told a

white tester that it did have apartments available. Id. at 368. The tester-plaintiff did not intend to

rent an apartment but was merely posing as a renter to collect evidence of unlawful steering

practices. Id. Thus, the only injury alleged by the tester-plaintiff was that she was given false

information in violation of the Fair Housing Act. Id. at 373-74.

       The Court found that the FHA “establishes an enforceable right to truthful information

concerning the availability of housing” and that “[a] tester who has been the object of a

misrepresentation made unlawful under [the FHA] has suffered injury in precisely the form the

statute was intended to guard against, and therefore has standing to maintain a claim for damages

under the Act’s provisions.” Id. Analogous to Exel’s argument regarding Harris’s alleged FCRA

knowledge, the Court explained that the fact the tester never intended to rent the apartment “does

not negate the simple fact of injury within the meaning of [the FHA].” Id. at 374. Instead, the Court

held that the tester-plaintiff “alleged injury to her statutorily created right to truthful housing

information” satisfying Article III’s injury-in-fact requirement. Id.

       Just as in Church (and Havens Realty), Harris had a right to receive the federally-mandated

disclosures made in a specific format but did not receive them. Thus, Harris has sufficiently

demonstrated that he sustained a concrete—i.e., real—injury because he did not received the

requisite stand-alone disclosure document required by the FCRA. This is particularly true for

Harris’s claims under § 1681b(b)(3)(A) since he was deprived of both a copy of the derogatory

consumer report and the FCRA summary of rights. The invasion of Harris’s right to receive the

disclosure and pre-adverse action notice is not hypothetical or uncertain; just as in Church, here

Harris did not receive information to which he was entitled and in the format delineated by the

statute. “While this injury may not have resulted in tangible economic or physical harm that courts



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often expect, the Supreme Court has made clear an injury need not be tangible to be concrete.”

Church, 654 F. App’x at 994 (citing Spokeo, 136 S. Ct. at 1549).

       Rather, this injury is one that Congress has elevated to the status of a legally cognizable

injury through the FCRA. Accordingly, Harris has established that he suffered concrete injury, and

thus, satisfies the injury-in-fact requirement. “[T]he rights created by § 1681b(b)(2) [and

1681b(b)(3)] are substantive rights, and the breach of the statute is not ‘a bare procedural violation’

of a technical requirement…In other words, a plaintiff in such a case need not allege any additional

harm beyond the one Congress has identified.” Thomas v. FTS USA, LLC, 193 F. Supp. 3d 623,

637 (E.D. Va. 2016) (quoting Spokeo, 136 S. Ct. at 1549) (emphasis original). The Eleventh

Circuit’s decision in Nicklaw v. Citimortgage, Inc. does not alter this analysis as it involved claims

under state law not a federal statute. 839 F.3d 998, 1002 (11th Cir. 2016).

       And contrary to Exel’s claims, the Sixth Circuit has not substantively applied Spokeo. In

Galaria, plaintiffs sued defendant after its network was hacked resulting in the theft of plaintiffs’

personal information. No. 15-3386/3387, 2016 WL 4728027, at *1 (6th Cir. Sept. 12, 2016). There,

the dispute focused on the “actual or imminent” requirement for standing, namely whether the

theft of plaintiffs’ personal information created an imminent risk of harm. Id. at *3. It did not

substantively analyze the “concrete and particularized” prong after Spokeo. Similarly, in Soehnlen

v. Fleet Owners Ins. Fund, the Sixth Circuit’s analysis focused not on the “concreteness” element

but on the “particularized” element: “We again reiterate, Plaintiffs are not absolved of their

individual obligation to satisfy the injury element of Article III just because they allege class

claims. We previously made clear that potential class representatives must demonstrate ‘individual

standing vis-à-vis the defendant; [they] cannot acquire such standing merely by virtue of bringing




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a class action.’” 844 F.3d 576, 582 (6th Cir. 2016) (citing Fallick v. Nationwide Mut. Ins. Co., 162

F.3d 410, 423 (6th Cir. 1998)).

       Exel’s other proffered case law is similarly immaterial or unpersuasive. In Meyers v.

Nicolet Restaurant of De Pere, LLC, plaintiff alleged that defendant did not truncate his credit card

expiration date as required by FACTA, a 2003 amendment to the FCRA. 843 F.3d 724, 725 (7th

Cir. 2016). The Seventh Circuit held that Meyers “did not suffer any harm…nor had the violation

created any appreciable risk of harm” as Meyers “discovered the violation immediately and

nobody else saw the non-compliant receipt.” Id. at 727. Similarly, in Braitberg v. Charter

Commc’ns, Inc., plaintiff alleged only that defendant had improperly retained personal

information. 836 F.3d 925, 930 (8th Cir. 2016). Plaintiff did not allege that defendant had disclosed

the information to a third party or that any outside party had accessed the data, thus there was no

material risk of harm. Id. These cases are distinguishable from Harris’s claim because Exel’s

unauthorized procurement of his consumer report constitutes the harm. See Thomas, 193 F. Supp.

3d at 636.

       The weight of authority at the district court level also confirm that Harris has established

Article III standing. Under the FCRA, individuals like Harris “have the right to specific

information at specific times”—and where that consumer “receive[s] a type of information, [but]

not the type of information that he is entitled to under the FCRA,” he has suffered an

“informational injury.” 123 F. Supp. 3d 810, 818 (E.D. Va. 2015); see also Panzer v. Swiftships,

LLC, No. 15-2257, 2015 WL 6442565, at *5 (E.D. La. Oct. 23, 2015) (“Under the FCRA, Plaintiff

and other consumers have the right to specific information at specific times…The allegation that

Defendant failed to provide that information is sufficient to show ‘an invasion of a legally

protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent.’”) (citing Lujan,



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504 U.S. at 560); and Ryals v. Strategic Solutions, Inc., 117 F. Supp. 3d 746, 753 (E.D. Va. 2015)

(finding standing where, like here, the plaintiff alleged “that he did not receive the required

information at the required time, as required by the FCRA.”).

       More recently, in perhaps the most analytically thorough (and well-cited) of the post-

Spokeo decisions, the District Court for the Eastern District of Virginia in Thomas considered

comparable claims under §§ 1681b(b)(2)(A) and 1681b(b)(3)(A). 193 F. Supp. 3d at 625. After a

lengthy discussion, the Thomas court recognized that the plaintiff alleged two concrete injuries:

an “informational injury” and a violation of his right to privacy. Id. at 634-37. In support of

plaintiff’s informational injury, the Thomas court relied on Federal Election Comm’n v. Akins, 524

U.S. 11 (1998) and Pub. Citizen v. Dept. of Justice, 491 U.S. 440 (1989), two cases specifically

identified by the Supreme Court in Spokeo. Id. at 635; see also Spokeo, 136 S. Ct. at 1549-50. Both

Akins and Public Citizen “teach that Congress may create a legally cognizable right to specific

information, the deprivation of which constitutes a concrete injury under Article III”. Id.

“Therefore, where a consumer alleges, as Thomas does here, that he or she has received a

disclosure that does not satisfy [§ 1681b(b)(2)(A)], the consumer has alleged a concrete

informational injury.” Id.

       In other words, Exel’s violation was not “procedural” or “technical”. Rather, Exel denied

Harris information to which he was specifically entitled under the FCRA in the form that Congress

has already determined to be substantively important, and he has suffered a clear informational

injury. See, e.g., Graham v. Pyramid Healthcare Solutions, No. 8:16-cv-1324, 2016 WL 6248309,

at *2 (M.D. Fla. Oct. 26, 2016); Hargrett v. Amazon.com DEDC LLC, No. 8:15-cv-2456, 2017

WL 416427, at *4 (M.D. Fla. Jan. 30, 2017); Mix v. Asurion Ins. Services, Inc., No. 14-cv-02357,

2016 WL 7229140, at *6 (D. Az. Dec. 14, 2016). This is particularly true as to Harris’s claims



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under § 1681b(b)(3)(A) given that he was not provided with a copy of the consumer report and

thereby denied access to the specific information that was used by Exel to deny him employment.

       Moreover, without providing the proper disclosures and notices, Exel never obtained

proper authorization from Harris to procure his consumer report, constituting an invasion of

privacy. As the Thomas court explained in an identical claim under § 1681b(b)(2) and 1681b(b)(3),

regardless of consent, “where a defendant fails to comply with statutory prerequisites protecting

plaintiff’s privacy, the plaintiff’s privacy has been unlawfully invaded and he has suffered concrete

injury.” 193 F. Supp. 3d at 636. Accessing private information without a legal basis to do so is a

classic example of a modern-day analogue to well-recognized common law torts. See Intrusion

Upon Seclusion, Restatement (Second) of Torts § 652B (1977) (“One who intentionally intrudes,

physically or otherwise, upon the solitude or seclusion of another or his private affairs or concerns,

is subject to liability to the other for invasion of his privacy…”); Snakenberg v. Hartford Cas. Ins.

Co., 383 S.E.2d 2, 5 (S.C. Ct. App. 1989) (“The law recognizes that each person has an interest in

keeping certain facets of personal life from exposure to others. This interest in “privacy” is a

distinct aspect of human dignity and moral autonomy.”)

       It bears noting (once again), that Congress specifically intended to safeguard against these

types of informational and privacy injuries. With the FCRA, Congress sought to address

employers’ “increasing reliance on consumer reporting agencies to obtain information” about their

prospective and current employees. Dalton, 257 F.3d at 414 (citing 116 Cong. Rec. 36570 (1970)).

In particular, it was concerned that employers would use such information to “adversely affect[]”

employees, who lacked any resources to correct or even become of aware of the consumer

information. Id. Thus, it enacted the FCRA and required that it be liberally construed in favor of

the consumer. See Jones v. Federated Fin. Reserve Corp., 144 F.3d 961, 964 (6th Cir. 1998)



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(noting that the Court must be “guided by the fact that the FCRA is to be liberally construed in

favor of the consumer[.]”) As made clear by Spokeo, “because Congress is well positioned to

identify intangible harms that meet minimum Article III requirements,” its “judgment” is both

“instructive and important.” 136 S. Ct. at 1549. This Court should respect Congress’s considered

judgment and conclude that Harris (and, by extension, all putative class members he seeks to

represent) has standing on his §§ 1681b(b)(2)(A) and 1681b(b)(3)(A) claims.

         Indeed, adopting any conclusion other than that Harris has standing would have far-

reaching implications, not only for the FCRA, but for numerous other statutes that seek to protect

consumers by requiring disclosures and allow the recovery of statutory damages for failure to

comply. The Truth in Lending Act, 15 U.S.C. § 1601, et seq., (TILA) and the Real Estate

Settlement Procedures Act, 12 U.S.C. § 2601, et seq., (RESPA) are only two consumer-protection

statutes that would be gutted if Spokeo were misinterpreted as undermining standing based on

informational injury. See e.g., 15 U.S.C. § 1638 (requiring disclosures under TILA); 15 U.S.C. §

1640(a)(2)(B) (allowing for statutory damages for failure to comply with TILA); 12 U.S.C. §

2605(c) (requiring disclosures under RESPA in certain circumstances); 12 U.S.C.

§ 2605(f)(1)(B) (allowing recovery of statutory damages for noncompliance with RESPA). If

consumers are no longer permitted to seek redress when defendants fail to comply with statutorily

mandated disclosure requirements, the failure to comply with those requirements, and the attendant

abuses, will not be far behind.

   IV.      CONCLUSION

         Based on the foregoing, Harris has established standing under Article III, and Exel’s

motion for summary judgment should be denied.




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                                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2017, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, which shall send electronic notification of this filing

to all counsel/parties of record.


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